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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   RACHELLE BARBOUR, Bar #185395
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     LATASHA RENE WEBB
 6
 7
                          IN THE UNITED STATES DISTRICT COURT
 8
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,            )
11                                        )   NO. CR.S-08-082-EJG
                       Plaintiff,         )
12                                        )
            v.                            )
13                                        )   STIPULATION AND ORDER TO CONTINUE
                                          )   STATUS CONFERENCE AND EXCLUDE
14                                        )   TIME
     MARLON MARCUS WILLIAMS and           )
15   LATASHA RENEE WEBB,                  )   Date: May 9, 2008
                                              Time: 10:00 a.m.
16                  Defendants.               Judge: Hon. Edward J. Garcia
     _____________________________
17
18          IT IS HEREBY STIPULATED by and between the parties hereto through

19   their respective counsel, MICHAEL BECKWITH, Assistant United States

20   Attorney, attorney for Plaintiff, and RACHELLE BARBOUR, Assistant

21   Federal Defender, attorney for defendant, LATASHA RENEE WEBB and TIM

22   WARNER attorney for defendant MARLON MARCUS WILLIAMS, that the status

23   conference set for April 4, 2008 be continued to May 9, 2008 at 10:00

24   a.m.

25          This continuance is being requested because the defense needs

26   additional time to review the discovery, investigate this case, and

27
28   discuss the case and the relevant law with the government and the
           Case 2:08-cr-00082-WBS Document 19 Filed 04/04/08 Page 2 of 2


 1
 2   defendants.
 3        For this reason, the parties agree that the ends of justice to be
 4   served by a continuance outweigh the best interests of the public and
 5   the defendant in a speedy trial and that time under the Speedy Trial
 6   Act may be excluded from the date of this order through May 9, 2008,
 7   pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv)(Local Code T4) [reasonable
 8   time to prepare].
 9
                                            Respectfully submitted,
10                                          DANIEL J. BRODERICK
                                            Federal Defender
11
12
     DATED: April 2, 2008                   /s/ RACHELLE BARBOUR
13                                          RACHELLE BARBOUR
                                            Assistant Federal Defender
14                                          Attorney for Defendant
                                            LATASHA RENEE WEBB
15
16   DATED: April 2, 2008                   /S/ RACHELLE BARBOUR
                                            TIM WARNER
17                                          Attorney for Defendant
                                            MARLON MARCUS WILLIAMS
18
19                                         McGREGOR SCOTT
                                           United States Attorney
20
21
     DATED: April 2, 2008                  /s/ RACHELLE BARBOUR for
22                                         MICHAEL BECKWITH
                                           Assistant U.S. Attorney
23                                         Attorney for Plaintiff
24
                                       O R D E R
25
          IT IS SO ORDERED.
26
27   DATED: April 3, 2008                   /s/ Edward J. Garcia
                                            EDWARD J. GARCIA
28                                          United States District Judge


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